Case 2:17-cr-00301-JFC Document 172 Filed 05/13/19 Page lofi

TOWN OF FAIRHAVEN
MASSACHUSETTS

FIRE DEPARTMENT / EMERGENCY MEDICAL SERVICE
146 Washington Street, Fairhaven, MA 02719
| Emergency #911

 

Tel:
Fax:

TIMOTHY P. FRANCIS
Chief of Department

 

(508) 994-1428

(508) 994-1515

Email: chief.francis@verizon.n

 

_ Honerable Joy Flowers Conti
| U.S. District Court, Western District of PA.
' Courtroom 5A

Joseph F. Weis Jr.
U.S. Courthouse

700 Grant St.
Pittsburgh, PA. 15219

 

_ Dear Judge Flowers Conti,

. lam writing this |

letter of support on behalf of my brother, David L. Francis.who|has been
- inth Allegheny County Jail since October 7th, 2017. ES es mt

S STR} ~
CT
OF PE

 

COurr

NNSYLVANia

ncarcerated

. My brother David-has always been the most compassionate, respectful and inspiring person! have

. ever known and! am not just saying that because he is my brother but because the facts sp .

: truth. To know him is to love him: We, (family ) are a very tight knit family and were raised
parents who instilled this meaning in us with this saying, " If one of us gets cut we'must all b
' will assure you that since David has been in Jail we are all bleeding from aching hearts. He is

person who doesn't belong behind bars for the magnitude of false charges that have been b

eak the

by our
eed"and |
a good
estowed

 

' upon him by false accusations. David his highly intelligent who has proofed thru his successes in

| businesses that he can exceed beyond the imaginable. One of his major successes was that
: the Founding Board Member of The Next Step Foundation, Inc. ‘located right in Pennsylvian
, drug and alcohol rehabilatation housing for both men and women with addictions . He put h
: soul into helping other people with addictions change their lifes around and realize that the

‘ that with his help and guidence and he did just that. Soon they felt like they had a purpose

- | prayer and constant guidence. As the people progressed thru the program he helped them
: licences back and then helped them arrange job interviews to be able to obtain a job as we
' mangement to better ready themselves for when they are sent back out into
- have direction and a feeling of being able to function on their own.

l .
he became

2 which is a

is heart and

¥, can do just
to want to
| change. He helped them get back on their feet thru his program which contained group mee

L.
tings,

get their

as money

the world thatithey would

So, | ask you Judge _, “ Does this sound like the criminal.that they have made him out to be with all the

, false accusations he is being charged with ?" Not to me and my Family. Well, one thing lam

| brother David and how if it hadn't been for him coming into their lives when he did they wo
‘alive today. To these graduates of his program, to me and my family he is not fit the descri
| CRIMINAL but he does fit the description of a TRUE HERO, that was wronged !

Re iy

5S PEcT Ful

sure of is
| the fact that there is alot of people that had addictions that went thru.his programs and: som
i probably already written their letters of support to you that can't say enougti good things ab

e have
put my

uld not be

Ption ofa

=
